May I ask counsel for the appellant to step forward and identify yourself, please? If it pleases the Court, Your Honor, I'm H. Victor Conde. I'm appearing for Mr. James Rosenberg, whose case this is, who is prohibited from appearing in the Ninth Circuit. And I'm pursuing this appeal, this argument for him. Well, did you file a notice of appearance? Because my understanding is you did not write the briefs. I did not write the briefs, Your Honor. Mr. Rosenberg had been prohibited from appearing. We understand that. Okay. I didn't write the brief. I didn't. No. Well, how do we – you didn't file a notice of appearance declaring who you were representing, so we're a little perplexed. Okay. I did sign something at Mr. Rosenberg's office some months ago. I wasn't sure what it was. He said you need to sign this in order to appear for me at this oral argument. Are you retained by Ms. Bogdasarian? No, I'm not, Your Honor. I'm being – So you're not representing her? Are you pro bono? Not exactly, Your Honor, but I – You're standing in the shoes of Mr. Rosenberg? Is that – That's what I understand, Your Honor. That's what I understand. No, I don't think so. I don't think that that's – we don't have any indication that you're representing the client. I did sign a form some, I think, four months ago that was concerning this case about who would be giving the oral argument. I thought that's what I was doing. Anyway, Mr. Rosenberg just had me sign the form and said this is what you need to do. I've never been before this Court before, and I apologize for any procedural irregularity. Well, in the absence of any authority from the client or any indication on this record that you're representing the client, I'm not sure that you can present argument on behalf of the client. Are there any questions that the Court has of Mr. Conde? All right. There was another attorney in Mr. Rosenberg's office that originally came in the case, and he's gone, too. Yes, Your Honor. And the case was under the name of Serena Sue. I think it was the attorney that he used at the time because he was barred, and he used that other attorney, a young attorney at his office. And I have come along to help cover some of his appearances for him. I'm an immigration attorney, and he asked me to cover this, and I said that I would do it. I accept that I'm responsible for seeing that this is all done right, and that if I apologize to this Court. But the petitioner has never signed anything authorizing you to speak for her. Not me, Your Honor. Okay. Okay. Mr. Conde, you've stated that you have not been hired by Ms. Agdesari, and as I understand to Mr. Rosenberg, it said that he was to return all of the client's papers to the client, give her the notice that he had been suspended from practice before the Ninth Circuit, and thus giving the client the opportunity to retain additional counsel. It doesn't sound like she has done that, at least to your knowledge. Is that correct? That's correct, Your Honor. All right. All right. Then I don't think we need to proceed any further this morning. Yes, Your Honor. I apologize, Your Honor. Are there any questions of the government? No. Thank you. The case will be submitted for decision.